Case 1:17-mc-00151-LPS Document 555 Filed 05/04/23 Page 1 of 8 PagelD #: 14049

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

 

CRYSTALLEX INTERNATIONAL CORP.,
Plaintiff,
Vv.
BOLIVARIAN REPUBLIC OF VENEZUELA,
Defendant.

Misc. No. 17-151-LPS

 

 

OI] EUROPEAN GROUP B.V.,
Plaintiff,
v.
BOLIVARIAN REPUBLIC OF VENEZUELA,

Defendant.

Misc. No. 19-290-LPS

 

NORTHROP GRUMMAN SHIP SYSTEMS, INC.,
Plaintiff,
v.

THE MINISTRY OF DEFENSE OF THE REPUBLIC OF
VENEZUELA,

Defendant.

ACL1 INVESTMENTS LTD., ACL2 INVESTMENTS LTD.,
and LDO (CAYMAN) XVIII LTD.,

Plaintiff,
v.
BOLIVARIAN REPUBLIC OF VENEZUELA,

Defendant.

 

Misc. No. 20-257-LPS

Misc. No. 21-46-LPS

 
Case 1:17-mc-00151-LPS Document 555 Filed 05/04/23 Page 2 of 8 PagelD #: 14050

 

RUSORO MINING LIMITED,
Plaintiff,

v. . : _ Misc. No. 21-481-LPS

BOLIVARIAN REPUBLIC OF VENEZUELA,

Defendant.

 

 

MEMORANDUM ORDER

 

The Court received the following email, cover. letter, and license from OFAC on May 1,
2023. The Court contacted the Special Master via email on May 3, 2023 regarding the
documents received, and the Special Master recommended that the documents be. made available
to all the parties in the above-captioned cases and other interested creditors. All of the Court’s
communications with the Special Master are also included.

Accordingly, IT IS HEREBY ORDERED that the following attachments to this order,

which include the materials received from OFAC and the exchange with the Special Master, be

(|

May 4, 2023 HONORABLE LEONARD P. STARK
Wilmington, Delaware UNITED STATES DISTRICT COURT

docketed.

 
Case 1:17-mc-00151-LPS Document 555 Filed 05/04/23 Page 3 of 8 PagelD #: 14051
From: Robert Pincus
Sent: Wednesday, May 3, 2023 2:43 P

    

Cc: Leonard P. Stark
Subject: Re: Materials from OFAC

 

oye oa

CAUTION-—EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when
opening attachments or clicking on links.

Thank vou i think they are just the formal licenses described in their letter, but let me check with my OFAC
counsel and get right back to you. Best, Bob Pincus

Sent from my iPhone

 

 

Good afternoon Mr. Pincus,

The Clerk’s Office today advised us of its receipt of the following materials from
OFAC. Judge Stark asked me to forward them to you to make sure you knew about
them. He plans to docket them as well, but please Jet us know if you have any
concerns.

a”
= = to the Honorable Leonard P. Stark

United States Court of Appeals for the Federal Circuit

<mime-attachment>
<VENEZUELA-E013884-2023-1057131-1_CoverLetter.pdf>
<VENEZUELA-£013884-2023-1057131-1.pdf>
Case 1:17-mc-00151-LPS Document 555 Filed 05/04/23 Page 4 of 8 PagelD #: 14052
From: [
Sent: Wednesday, May 3, 2023 5:21 PM

To: Robert Pincus

Ca Leonard P. Stark
Subject: Re: Materials from OFAC
Mr. Pincus,

Thank you so much for this helpful explanation! We will docket the documents tomorrow. | hope you have a
great evening.

Best,

 

From: Robert Pincus

Sent: Wednesday, May 3, 2023 5:05 PM
To:
Cc: Leonard P, Star
Subject: Re: Materials from OFAC

 
 
  
  
  

 

 

CAUTION--EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when
opening attachments or clicking on links.

 

— As explained to me by OFAC counsel, since this is a specific license, OFAC itself can’t release it publicly, but the
Court can and should docket them, as they clarify questions about the attachment process. Essentially, the license is
intended to allow the Court to have full control over who is/isn’t added as an Additional Judgment Creditor. Such
Additional Judgment Creditors will be authorized to participate in the sale process under OFAC’s non enforcement
policy, up to the point of sale. At that point, an additional license will be required under OFAC’s “favorable” licensing
process.

If you or Judge Stark has any other questions with respect to these OFAC licenses or process, | am happy to arrange a
meeting with a. at Jenner & Block, at your convenience. Best, Bob Pincus

Good afternoon Mr. Pincus,

The Clerk’s Office today advised us of its receipt of the following materials from
OFAC. Judge Stark asked me to forward them to you to make sure you knew about

them. He plans to docket them as well, but please let us know if you have any
concerns.

All “4 best,
Case 1:17-mc-00151-LPS Document 555 Filed 05/04/23 Page 5 of 8 PagelD #: 14053
Sent: Monday, May 1, 2023 11:24 AM
To: Randall Lohan (USC
Subject: icense related to Case No: 1:1/-mc- “t (D. Del.

Attachments: VENEZUELA-EO013884-2023-1057131-1_CoverLetter.pdf; VENEZUELA-EO13884-2023-1057131-1.pdf

 

CAUTION - EXTERNAL:

Chief Deputy Clerk Randall Lohan:

The Office of Foreign Assets Control (OFAC) has issued a license to the Clerk of the Court for the District of Delaware,
related to the Order issued by the Court in Case No. 1:17-me-00151-LP5 (D. Del.) on March 23, 2023, authorizing the
issuance and service of writs of attachment fieri facias granted by the Court to judgment creditors against shares of PDV
Holding, Inc., owned by Petrdleos de Venezuela, S.A.. A cover letter and a copy of OFAC License VENEZUELA-E013884-
2023-1057131-1 are attached. We understand that the Clerk of the Court may be out of the office today so we are
transmitting these documents to you and would appreciate a confirmation of receipt.

Please contact our office should you have any questions,

Sincerely,

Nikole A. Thomas

Assistant Director for Licensing

Office of Foreign Assets Control (OFAC)

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.
Case 1:17-mc-00151-LPS Document 555° Filed 05/04/23 Page 6 of 8 PageID #: 14054

DEPARTMENT OF THE TREASURY
WASHINGTON, D.C. 20220

 

Case No. VENEZUELA-EO13884-2023-1057131-1

Office of the Clerk

United States District Court, District of Delaware
844 North King St., Unit 18

Wilmington, DE 19801-3570

Attn: John A. Cerino

RE: Authorization from the Office of Foreign Assets Control to Issue and Serve Writs of Attachment to
Judgment Creditors for shares of PDV Holding, Inc.

Dear Mr. Cerino:

The Office of Foreign Assets Control (OFAC) has issued a license to the Clerk of the Court for the District of
Delaware, related to the Order issued by the Court on March 23, 2023, authorizing the issuance and service of
writs of attachment fieri facias granted by the Court to judgment creditors against shares of PDV Holding, Inc.,
owned by Petroleos de Venezuela, S.A. (“PdVSA”).

Executive Order (E.O.) 13850 of November 1, 2018, “Blocking Property of Additional Persons Contributing to
the Situation in Venezuela,” as amended by E.O. 13857 (“E.O. 13850”), generally prohibits transactions and
dealings in property and interests in property of individuals and entities designated pursuant to E.O. 13850, On
January 28, 2019, OFAC designated PdVSA pursuant to E.O. 13850. Furthermore, on August 5, 2019, the
President signed Executive Order 13884 blocking all property and interests in property of the Government of
Venezuela, including entities owned or controlled by the foregoing, such as PAVSA. As a result, U.S. persons
are generally prohibited from engaging in any transactions with PdVSA or dealing in any property in which
PdVSA has an interest, unless separately authorized by OFAC. These prohibitions also apply to any entities that
are 50 percent or more owned by PdVSA, such as PDV Holding, Inc.

Please find enclosed LICENSE No. VENEZUELA-E013884-2023-1057131-1, authorizing the issuance and
service of a writ of attachment fieri facias for any party named an “Additional Judgment Creditor” by the Court
pursuant to the Sale Procedures Order related to Crystallex Int'l Corp., Case No. 1:17-mc-00151-LPS (D. Del.).
In light of notice considerations, the License includes a condition that a copy of the License must be shared with
any “Additional Judgment Creditor” named by the Court pursuant to the Sale Procedures Order. As noted within
the License, additional authorization is required in order to execute any sale or transfer of blocked property.

Should you have any questions about this license, you may call our office at 202-622-2480,

Sincerely,
‘ : Digitally signed by Nikol
Nikole A. ims
Date: 2623.05.01 10:33:00
Thomas 400"

 

Nikole A. Thomas
Assistant Director for Licensing
Office of Foreign Assets Control
Case 1:17-mc-00151-LPS Document 555 Filed 05/04/23 Page 7 of 8 PagelD #: 14055

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Seite. 47

   

DEPARTMENT OF THE TREASURY
WASHINGTON, D.C. 20220

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i784 ’

LICENSE No. VENEZUELA-E013884-2023-1057131-1
VENEZUELA SANCTIONS REGULATIONS

LICENSE

Issued under the authority of one or more of 50 U.S.C. §§ 1601-51, 1701-06, Pub. L. 113-278,
Executive Orders 13692, 13808, 13827, 13835, 13850, 13857, and 13884, and 31 C.F.R. Parts 501 and 591.

To: Office of the Clerk
United States District Court, District of Delaware
844 North King St., Unit 18
Wilmington, DE 19801-3570

Attn: John A. Cerino

1. Based upon information available to the Office of Foreign Assets Control, the transactions described herein are
hereby authorized.

2. This License is subject to the condition, among others, that the Licensees comply with its terms and with all
regulations, rulings, orders, and instructions issued under any of the authorities cited above.

3. This License expires on May 31, 2025, and is not transferable. The transactions described in this License are
subject to the authorities cited above and any regulations and rulings issued pursuant thereto. This License may be
revoked or modified at any time. If this License was issued as a result of willful misrepresentation it may be declared
void from the date of its issuance or from any other date.

4. This License does not authorize transactions prohibited by any law or regulation administered by the Office of
Foreign Assets Control other than those listed above.

5. This License does not excuse the Licensees from the need to comply with any law or regulation (including reporting
requirements) administered by any other agency or the need to obtain any required authorization(s) from any other

agency.

Issued on behalf of the Secretary of the Treasury:

OFFICE OF FOREIGN ASSETS CONTROL

 

. Digitall ed by Nikole A,
Nikole A. Ei taly saned by Nikole
By Thomas a 10:32:31
Nikole A. Thomas

Assistant Director for Licensing

Attention is directed to, infer alia, 18 U.S.C. § 1001, 21 U.S.C. § 1906, 50 U.S.C. § 1705, Pub. L. 113-278, § 5(b)(2),
for provisions relating to penalties.
Case 1:17-mc-00151-LPS_ Document.555__Filed 05/04/23 Page 8 of 8 PagelD #:.14056
LICENSE No. VENEZUELA-EO13884-2023-1057131-1 Page 2 of 2

SECTION I —- AUTHORIZATION: Subject to the limitations stated herein and to the extent
authorization is required, the Clerk of the Court (the “Clerk”) for the United States District Court, District
of Delaware (the “Court”), agents and/or contractors of the Court, and Additional Judgment Creditors
named by the Court (collectively, the “Licensees”), are hereby authorized to engage in transactions and
activities ordinarily incident and necessary to the issuance and service of a writ of attachment fieri
facias for any party named an “Additional Judgment Creditor” by the Court pursuant to the Sale
Procedures Order related to Crystallex Int’l Corp., Case No. 1:17-mc-00151-LPS (D. Del.).

SECTION II - CONDITION: (a) A separate license is required in order for any party to execute any
writ that has been issued pursuant to the authorization found in SECTION I.

(b) The Clerk must provide a copy of this License to any party named as an “Additional Judgment
Creditor” by the Court as outlined in SECTION I of the License.

SECTION ITI — WARNINGS: (a) This License does not authorize the transfer of any blocked property,
the debiting of any blocked account, or the execution of any judgment against property which is blocked
pursuant to any Executive order, statute, or Chapter V of Title 31 of the C.F.R.

(b) Except to the extent authorized in SECTION I, this License does not authorize the entry of any
judgment or order that effects a transfer of property which is blocked pursuant to any Executive order,
statute, or Chapter V of Title 31 of the C.F.R..

(c) This License does not authorize the provision of funds or other property, directly or indirectly, to any
entity or individual whose property or interests in property are blocked pursuant to an Executive Order,
statute, or Chapter V of Title 31 of the C.F.R.

SECTION IV - RECORDKEEPING & REPORTING REQUIREMENTS: The Licensees are
subject to the recordkeeping and reporting requirements of, inter alia, 31 C.F.R. §§ 501.601 and 501.602,
including the requirement to maintain full and accurate records concerning the transactions undertaken
pursuant to this License for a period of five years from the date of each transaction.

SECTION V ~ PRECEDENTIAL EFFECT: The authorization contained in this License is limited

to the facts and circumstances described therein.
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